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ORIGINAL            IN THE UNITED STATES DISTRICT COURT


                         FOR THE DISTRICT OF HAWAII


  GULSTAN E. SILVA, JR., as                 CIV. NO. 15-00436 HG-KJM
  Personal Representative of
  the Estate of Sheldon Paul
  Haleck,

                    Plaintiff,                             FILED IN THE
                                                    UNITED STATES DISTRICT COURT
              vs.                                       DISTRICT OF HAWAII

   CHRISTOPHER CHUNG; SAMANTHA                             JUN 0 6 2019
   CRITCHLOW; AND STEPHEN
   KARDASH,
                                                    at ^o'clock and          _M
                                                        SUE BEITIA, CLERK

                    Defendants.



                              JURY INSTRUCTIONS


        The Court's jury instructions in the numerical order as read

   to the jury are attached hereto.

        DATED: June 4, 2019, Honolulu, Hawaii.




                                         ilN GILLMOR^
                                     Unifead States District Judge
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                         JURY INSTRUCTION NO. 1




Members of the Jury:

            You have now heard all of the evidence in the case and

you will shortly hear the final arguments of the lawyers for the

parties.

            It becomes my duty, therefore, to instruct you on the

rules of law that you must follow and apply in arriving at your

decision in the case.

            In any jury trial there are, in effect, two judges.           I

am one of the judges; the other is the jury.          It is my duty to

preside over the trial and to deteirmine what testimony and

evidence is relevant under the law for your consideration.            It is

also my duty at the end of the trial to instruct you on the law

applicable to the case.
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                         JURY INSTRUCTION NO, 2




            You, as jurors, are the judges of the facts.         But in

determining what happened in this case -- that is, in reaching

your decision as to the facts -- it is your sworn duty to follow

the law I am now defining for you.

            You must follow all of my instructions as a whole.           You

have no right to disregard or give special attention to any one

instruction, or to question the wisdom or correctness of any rule

I may state to you.      That is, you must not substitute or follow

your own notion or opinion as to what the law is or ought to be.

It is your duty to apply the law as I give it to you, regardless

of the consequences.

            In deciding the facts of this case you must not be

swayed by sympathy, bias or prejudice as to any party.           This case

should be considered and decided by you as an action between

persons of equal standing in the community, and holding the same

or similar stations in life.       The law is no respecter of persons,

and all persons stand equal before the law and are to be dealt

 with as equals in a court of justice.
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                           JURY INSTRUCTION NO. 3




             As Stated earlier, it is your duty to determine the

facts, and in so doing you must consider only the evidence I have

admitted     in   the   case.   The   term   "evidence"   includes   the    sworn

 testimony of the witnesses and the exhibits admitted in the record.

             Remember that questions, statements, objections, and

arguments by the lawyers are not evidence.                The lawyers are not

 witnesses.       Although you must consider a lawyer's questions to

 understand the answers of a witness, the lawyer's questions are not

 evidence.    Similarly, what the lawyers have said in their opening

and closing statements, and have said at other times is intended to

 help you interpret the evidence, but it is not evidence.                  If the

facts as you remember them differ from the way the lawyers state

 them, your memory of them controls.
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                         JURY INSTRUCTION NO. 4




            There are rules of evidence which control what can be

received into evidence. When a lawyer asks a question or offers an

exhibit into evidence and a lawyer on the other side thinks that it

is not permitted by the rules of evidence, that lawyer may object.

If I overrule the objection, the question may be answered or the

exhibit received. If I sustain the objection, the question cannot

be answered and the exhibit cannot be received.

            Whenever I sustain an objection to a question, you must

not speculate as to what the answer might have been or as to the

reason for the objection. You must not consider for any purpose any

offer of evidence that was rejected, or any evidence that was

 stricken from the record; such matter is to be treated as though

 you had never known of it.

            In   addition, some    evidence   was   received   only for    a

 limited purpose; when I have instructed you to consider certain

evidence in a limited way, you must do so.
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                          JURY INSTRUCTION NO. 5




            During the course of a trial I may have occasionally made

comments to the lawyers, or asked questions of a witness, or

admonished a witness concerning the manner in which he should

respond to the questions of counsel, Do not assume from anything I

 have said that I have any opinion concerning any of the issues in

 this case. Except for my instructions to you on the law, you should

 disregard anything I may have said during the trial in arriving at

 your own findings as to the facts.
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                         JURY INSTRUCTION NO. 6




             In this case, the parties have agreed, or stipulated, as

to certain facts.     This means that they both agree that these facts

 are true.    You should therefore treat these facts as having been

conclusively proved.
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                         JURY INSTRUCTION NO. 7




            Evidence may be direct or circumstantial. Direct evidence

is direct proof of a fact, such as testimony of an eyewitness.

Circumstantial evidence is indirect evidence, that is, proof of a

chain of facts from which you could find that another fact exists,

even though it has not been proved directly.

            So, while you should consider only the evidence in the

case, you are permitted to draw such reasonable inferences from the

 testimony and exhibits as you feel are justified in the light of

 common experience. In other words, you may make deductions and

 reach conclusions which reason and common sense lead you to draw

from the facts which have been established by the testimony and

evidence in the case.

            You   are   to   consider   both   direct   and   circumstantial

evidence. The law permits you to give equal weight to both, but it

is for you to decide how much weight to give to any evidence.
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                         JURY INSTRUCTION NO. 8




            In deciding the facts in this case, you may have to

decide which testimony to believe and which testimony not to

believe.    You may believe everything a witness says, or part of

it, or none of it.

            In considering the testimony of any witness, you may

 take into account:


            (1)   the opportunity and ability of the witness to see

                  or hear or know the things testified to;

            (2)   the witness's memory, candor, fairness, and

                  intelligence;

            (3)   the witness's manner while testifying;

            (4)   the witness's interest in the outcome of the case,

                  if any;

            (5)   the witness's bias or prejudice, if any;

            (6)   whether other evidence contradicted the witness's

                  testimony;

            (7)   the reasonableness of the witness's testimony in

                  light of all the evidence; and

            (8)   any other factors that bear on believability.



            Sometimes a witness may say something that is not

consistent with something else he or she said.          Sometimes
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 different witnesses will give different versions of what

 happened.    People often forget things or make mistakes in what

 they remember.     Also, two people may see the same event but

 remember it differently.      You may consider these differences, but

 do not decide that testimony is untrue just because it differs

 from other testimony.

             However, if you decide that a witness has deliberately

 testified untruthfully about something important, you may choose

 not to believe anything that witness said.         On the other hand, if

 you think the witness testified untruthfully about some things

 but told the truth about others, you may accept the part you

 think is true and ignore the rest.

             The weight of the evidence as to a fact does not

 necessarily depend on the number of witnesses who testify.            What

 is important is how believable the witnesses were, and how much

 weight you think their testimony deserves.
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                           JURY INSTRUCTION NO. 9




             The   rules   of   evidence   provide   that   if   scientific,

 technical, or other specialized knowledge might assist the jury in

 understanding the evidence or in determining a fact in issue, a

 witness qualified as an expert by knowledge, skill, experience,

 training, or education, may testify and state his or her opinion

 concerning such matters.

             You should consider each expert opinion received in

 evidence in this case and give it such weight as you may think it

 deserves. If you decide that the opinion of an expert witness is

 not based upon sufficient education and experience, or if you

 should conclude that the reasons given in support of the opinion

 are not sound, or that the opinion is outweighed by other evidence,

 then you may disregard the opinion entirely.
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                            JURY INSTRUCTION NO. 10




              A   witness    may   be   discredited   or   "impeached"     by

 contradictory evidence, by a showing that he or she testified

 falsely concerning a material matter, or by evidence that, at some

 other time, the witness said or did something that is inconsistent

 with   the   witness'   present testimony or failed        to say or do

 something that would be consistent with the present testimony had

 it been said or done.

              If you believe that any witness has been so impeached,

 then it is your exclusive province to give the testimony of that

 witness such credibility or weight, if any, as you may think it

 deserves.
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                         JURY INSTRUCTION NO. 11




             The plaintiff brings his claim under the federal

 statute, 42 U.S.C. § 1983, which provides that any person who,

 under color of state law, deprives another of any rights,

 privileges, or immunities secured by the Constitution or laws of

 the United States shall be liable to the injured party.
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                         JURY INSTRUCTION NO. 12




             Under the Fourth Amendment to the United States

 Constitution, a person has the right to be free from an

 unreasonable seizure of his person.        Plaintiff alleges that

 Defendant Christopher Chung and/or Defendant Samantha Critchlow

 and/or Defendant Stephen Kardash deprived Sheldon Paul Haleck

 ("the decedent") of his right under the Fourth Amendment to be

 free from the use of excessive force.

             In order to prevail on his Section 1983 claim against

 Defendant Christopher Chung and/or Defendant Samantha Critchlow

 and/or Defendant Stephen Kardash for violation of the decedent's

 Fourth Amendment rights, plaintiff must prove each of the

 following elements by a preponderance of the evidence:

             1.   Defendant Christopher Chung and/or Defendant
                  Samantha Critchlow and/or Defendant Stephen
                  Kardash acted under color of law;

             2.   Defendant Christopher Chung and/or Defendant
                  Samantha Critchlow and/or Defendant Stephen
                  Kardash seized the decedent's person;

             3.   in seizing the decedent's person. Defendant
                  Christopher Chung and/or Defendant Samantha
                  Critchlow and/or Defendant Stephen Kardash acted
                  intentionally; and,

             4.   the seizure was unreasonable.


             A person acts "intentionally" when the person acts with

 a conscious objective to engage in particular conduct.

 Therefore, the plaintiff must prove that a defendant officer
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 intended to an act that caused a seizure of the decedent's

 person.   Although the plaintiff does not need to prove that a

 defendant intended to violate the decedent's Fourth Amendment

 rights, it is not enough if the plaintiff only proves that the

 defendant acted negligently, accidentally, or inadvertently in

 conducting the seizure.

             In order to be individually liable pursuant to Section

 1983, an individual defendant must personally participate in the

 constitutional deprivation.

             A person acts "under color of law" when the person acts

 or purports to act in the performance of official duties under

 any state, county, or municipal law, ordinance, or regulation.

             The parties stipulate that the defendants acted under

 color of law in this case.

             A defendant "seizes" a person when he restrains a

 person's liberty by physical force or a show of authority.            A

 person's liberty is restrained when, under all the circumstances,

 a reasonable person would not have felt free to ignore the

 presence of law enforcement officers and to go about his

 business.
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                         JURY INSTRUCTION NO. 13




             I will now discuss the fourth element, as to whether

 the seizure was unreasonable.


             In general, a seizure of a person is unreasonable under

 the Fourth Amendment if a police officer uses excessive force in

 making a lawful arrest and/or in defending himself, herself, or

 others.    In order to prove an unreasonable seizure in this case,

 the plaintiff must prove by a preponderance of the evidence that

 Defendant Christopher Chung and/or Defendant Samantha Critchlow

 and/or Defendant Stephen Kardash used excessive force when they

 performed acts to bring Sheldon Haleck into custody.

             Under the Fourth Amendment, a police officer may use

 only such force as is "objectively reasonable" under all of the

 circumstances.     You must judge the reasonableness of a particular

 use of force from the perspective of a reasonable officer on the

 scene and not with the 20/20 vision of hindsight.          Although the.

 facts known to the officer are relevant to your inquiry, an

 officer's subjective intent or motive is not relevant to your

 inquiry.

             In determining whether the officer used excessive force

 in this case, consider all of the circumstances known to the

 Defendants Christopher Chung and/or Samantha Critchlow and/or

 Stephen Kardash who were at the scene, including:
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             (1)   the nature of the crime or other circumstances
                   known to a defendant officer at the time force was
                   applied;

             (2)   whether the decedent posed an immediate threat to
                   the safety of the defendant officers or to others;

             (3)   whether the decedent was actively resisting arrest
                   or attempting to evade arrest by flight;

             (4)   the amount of time a defendant officer had to
                   determine the type and amount of force that
                   appeared necessary, and any changing circumstances
                   during that period;

             (5)   the type and amount of force used;

             (6)   the availability of alternative methods to take
                   the decedent into custody or to subdue him;

             (7)   the number of lives at risk (motorists,
                   pedestrians, police officers) and the Parties'
                   relative culpability; i.e., which party created
                   the dangerous situation, and which party is more
                   innocent;

             (8)   whether it was practical for a defendant officer
                   to give warning of the imminent use of force, and
                   whether such warning was given;

             (9)   whether the decedent was compliant with the orders
                   of the defendant officers.
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                         JURY INSTRUCTION NO. 14




            An officer is not required to use the least intrusive

 means when responding to a situation.        The officer need only act

 within the range of reasonable conduct.        The existence of an

 injury does not mean that a person's constitutional rights have

 been violated or that a police officer used excessive force.

            Honolulu Police Department policies and training

 materials may be considered in the determination of whether a use

 of force is proper, however, such policies and/or training

 materials do not provide the constitutional standard.           As stated,

 the constitutional standard is whether a use of force is

 objectively reasonable under the totality of the circumstances.
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                         JURY INSTRUCTION NO. 15




             The plaintiff has the burden of proving every essential

 element of his excessive force claim by a "preponderance of the

 evidence."    A preponderance of the evidence means such evidence

 as, when considered and compared with that opposed to it, has

 more convincing force and produces in your minds a belief that

 what is sought to be proved is more likely true than not true.

 In other words, to establish a claim by a "preponderance of the

 evidence" means to prove that the claim is more likely so than

 not SO;


             Where more than one defendant is involved, as in this

 case, you should consider each defendant and the evidence

 pertaining to him or her, separately, as you would had each claim

 been tried before you separately; but in determining any fact in

 issue, you may consider the testimony of all the witnesses,

 regardless of who may have called them, and all the exhibits

 received in evidence, regardless of who may have produced them.

             If a preponderance of the evidence does not, support

 each essential element of plaintiff's excessive force claim, then

 the juiry should find against the plaintiff on the excessive force

 claim.
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                         JURY INSTRUCTION NO. 16




             In order to establish that the acts of Defendant

 Christopher Chung and/or Defendant Samantha Critchlow and/or

 Defendant Stephen Kardash deprived the decedent of his particular

 rights under the United States Constitution, the plaintiff must

 prove by a preponderance of the evidence that Defendant

 Christopher Chung and/or Defendant Samantha Critchlow and/or

 Defendant Stephen Kardash's conduct was the cause of the

 decedent's injuries.

             To meet this causation requirement, the plaintiff must

 establish both causation-in-fact and proximate causation.

 Causation-in-fact requires proof that the decedent's injuries

 would not have occurred but-for the acts of Defendant Christopher

 Chung and/or Defendant Samantha Critchlow and/or Defendant

 Stephen Kardash.     An act is a proximate cause of an injury if it

 appears from the evidence that the injury was a reasonably

 foreseeable consequence of the act.
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                         JURY INSTRUCTION NO. 17




            It is the duty of the Court to instruct you about the

 measure of compensatory damages.       By instructing you on

 compensatory damages, the Court does not mean to suggest for

 which party your verdict should be rendered.

             The plaintiff has the burden of proving damages by a

 preponderance of the evidence.       Damages means the amount of money

 that will reasonably and fairly compensate the plaintiff for any

 injury you find was caused by Defendant Christopher Chung and/or

 Defendant Samantha Critchlow and/or Defendant Stephen Kardash.

 You should consider the following:


             1.   The nature and extent of the decedent's injuries;

             2.   The loss of enjoyment of life by the decedent;

             3.   The mental, physical, and emotional pain and
                  suffering the decedent may have experienced;

             4.   The reasonable value of necessary medical care,
                  treatment, and services for the decedent;

             5.   The reasonable value of wages, earnings, earning
                  capacity, business opportunities, and employment
                  opportunities lost to the decedent.

             It is for you determine what damages, if any, have been

 proved.

             Your award must be based upon evidence and not upon

 speculation, guesswork, or conjecture.
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                         JURY INSTRUCTION NO. 18




             Of course, the fact that I have given you instructions

 concerning the issue of plaintiff's damages should not be

 interpreted in any way as an indication that I believe the

 plaintiff should, or should not, prevail in this case.
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                         JURY INSTRUCTION NO. 19




            Although there is more than one defendant in this suit,

 it does not follow from that fact alone that if one is liable all

 are liable.    Each defendant is entitled to a fair and separate

 consideration of that defendant's own defense and is not to be

 prejudiced by your decision as to the others.         All instructions

 given apply to the case against each defendant unless otherwise

 stated.


             You will decide each defendant's case separately.
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                         JURY INSTRUCTION NO. 20




             Your verdict must represent the considered judgment of

 each juror.    In order to return a verdict, it is necessary that

 each juror agree thereto.      In other words, your verdict must be

 unanimous.


             It is your duty as jurors to consult with one another

 and to deliberate with a view to reaching an agreement if you can

 do so without violence to individual judgment.          Each of you must

 decide the case for yourself, but only after an impartial

 consideration of all the evidence in the case with your fellow

 jurors.   In the course of your deliberations, do not hesitate to

 re-examine your own views, and change your opinion, if convinced

 it is erroneous.     But do not surrender your honest conviction as

 to the weight or effect of the evidence, solely because of the

 opinion of your fellow jurors, or for the mere purpose of

 returning a verdict.

              Remember at all times, you are not partisans.           You are

 judges -- judges of the facts.       Your sole interest is to seek the

 truth from the evidence in the case.
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                         JURY INSTRUCTION NO. 21




             Some of you have taken notes during trial.         Whether or

 not you took notes, you should rely on your own memory of what

 was said.    Notes are only to assist your memory.        You should not

 be overly influenced by your notes or those of your fellow

 jurors.
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                         JURY INSTRUCTION NO. 22




             Upon retiring to the jury room you should first select

 one of your number to act as your foreperson who will preside

 over your deliberations and will be your spokesperson here in

 court,   A verdict form has been prepared for your convenience.

                          (Explain verdict form)

             You will take the verdict form to the jury room and

 when you have reached unanimous agreement as to your verdict, you

 will have your foreperson fill it in, date and sign it, and then

 return to the courtroom.


            If, during your deliberations, you should desire to

 communicate with the Court, please reduce your message or

 question to writing signed by the foreperson.         The foreperson

 will then contact the Courtroom Manager via the telephone located

 in the hallway outside the jury room.        The Courtroom Manager will

 pick up the note and bring it to my attention.         I will then

 respond as promptly as possible, either in writing or by having

 you returned to the courtroom so that I can address you orally.

 I caution you, however, with regard to any message or question

 you might send, that you should never state or specify your

 numerical division at the time.
